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UNITED sTATEs oF AMERICA ) INDICTMENT
) , ')
v. ) caseNo.j/._/O_c@?
)
) Violations:
KEVIN EUGENE LINEBERRY ) 18 U.s.c. § 922(g)(1)
) 18 U.s.c. § 922(1)
W

The Grand Jury charges that:

1. On or about December 4, 2008, in the Western judicial District of Virginia, the
defendant, KEVIN EUGENE LINEBERRY, having been previously convicted of a crime
punishable by imprisonment for a term exceeding one year, did knowingly possess in and
affecting interstate commerce, one or more of the following firearrns, namely, one (1)
Remington, model 24, .22 caliber long rifle; one (1) Mitchcl model 9304, .22 magnum caliber
rifle; and one (1) \X/inchester, model 94, 30-30 caliber rifle, each of which had been shipped and
transported in interstate or foreign commerce

2. All in violation of Title 18, United States Codc, Sections 922(g)(1) and 924(€).

COUNT TWO

The Grand Jury charges that:

 

1. On or about Decernber 4, 2008, in the Western judicial District of Virginia, the

defendant, KEVIN EUGENE LINEBERRY, did knowingly possess one or more stolen

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firearms, namely one (1) Remington, model 24, .22 caliber long rifle; one (1) Mitchel model
9304, .22 magnum caliber rifle; one (1) Winchester, model 94, 30-30 caliber rifle, each of which
had been shipped and transported in interstate or foreign commerce, knowing and having

reasonable cause to believe the firearm(s) were stolen.

2. All in violation of Title 18, United States Code, Section 922@).

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A True Bill this day of Febtuary, 2010.

  

 

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